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                                 UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                        Case Number 4:96cr3043-002
                                                          USM Number 15365-047
PORSHA R. TURNER MAYER
                Defendant
                                                          MICHAEL J. HANSEN
                                                          Defendant’s Attorney
__________________________________
                        JUDGMENT IN A CRIMINAL CASE
                         (For Revocation of Probation or Supervised Release)

THE DEFENDANT admitted guilt to violation of Standard Condition 8 of the term of supervision.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense:
                                                                                   Date Violation
        Violation Number                    Nature of Violation                     Concluded


 4. (Standard Condition #8)           The defendant shall refrain from        September 25, 2007 and
                                      excessive use of alcohol and        October 10, 2007
                                      shall not purchase, possess,
                                      use distribute, or administer any
                                      controlled substance or any
                                      paraphernalia related to any
                                      controlled substances, except
                                      as prescribed by a physician.
Original Offense: Conspiracy to Distribute and Possess with Intent to Distribute Cocaine Base in violation of
21:846, 841(a)(1) and 18:2.

The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Allegations 1-3 and 5-7 of the Petition (filing 148) are dismissed on the motion of the United States

Following the imposition of sentence, the Court advised the defendant of the right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this
date.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.
                                                                Date of Imposition of Sentence:
                                                                                   June 19, 2008

                                                                             s/ Richard G. Kopf
                                                                             United States District Judge

                                                                                    June 24, 2008
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                                          IMPRISONMENT

It is ordered defendant’s term of supervised release is revoked. The defendant is hereby committed
to the custody of the United States Bureau of Prisons to be imprisoned for a term of Time Served.


                               ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                              _____________________________
                                                                      Signature of Defendant

                                                RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                         __________________________________
                                                                UNITED STATES WARDEN


                                                     By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                           CERTIFICATE


It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______


                                                         __________________________________
                                                                UNITED STATES WARDEN


                                                     By:__________________________________
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                                      SUPERVISED RELEASE

       Beginning today, the defendant shall be on supervised release for a period of 21 months
and 9 days, or until March 28, 2010.

        While on supervised release, the defendant shall not commit another Federal, state, or local
crime and shall comply with the standard conditions that have been adopted by this court (set forth
on the following page.) If this judgment imposes a restitution obligation, it shall be a condition of
supervised release that the defendant pay any such restitution that remains unpaid at the
commencement of the term of supervised release. The defendant shall comply with the following
additional conditions:

Pursuant to 18 U.S.C. 3583(d), defendant shall submit to a drug test within fifteen (15) days of
release on Supervised Release and at least two (2) periodic drug tests thereafter to determine
whether defendant is using a controlled substance. Further, defendant shall submit to such testing
as requested by any United States Probation Officer to detect the presence of controlled
substances in the defendant's body fluids and to determine whether the defendant has used any
of those substances. Defendant shall pay for the collection of urine samples to be tested for the
use of controlled substances.

1. Defendant shall be subject to search of the defendant's premises, vehicle or person, day or
night, with or without a warrant, at the request of the United States Probation Officer to determine
the presence of controlled substances, firearms, or any other contraband. Any such items found
may be seized by the probation officer. This condition may be invoked with or without the
cooperation of law enforcement officers.

2. Paragraph #8 of the Standard Conditions of Supervision is modified. Instead of merely
refraining from excessive use of alcohol, the defendant shall not purchase or possess, use,
distribute, or administer any alcohol, just the same as any other narcotic or controlled substance.

3. Defendant shall attend, pay for, and successfully complete any diagnostic, evaluation, treatment
or counseling program, or approved support groups such as AA or NA for controlled substance
abuse, as directed by the probation officer.

4. The defendant shall pay for, attend and participate in good faith in an inpatient or outpatient
mental health program, as directed by the United States Probation Officer.

5. Defendant shall provide the U. S. Probation Officer with access to any requested financial
information.

6. Defendant shall complete two hundred (200) hours of community service (195 completed) as
approved and directed by the U. S. Probation Officer. The defendant shall be responsible for
providing the U. S. Probation Officer with written proof of the number of hours completed.

7. Defendant shall report to the United States Probation Office for the District of Nebraska between
the hours of 8:00 a.m. and 4:30 p.m., 100 Centennial Mall North, 530 U. S. Courthouse, Lincoln,
Nebraska, phone (402) 437-5223, within seventy-two (72) hours from today.
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                           STANDARD CONDITIONS OF SUPERVISION


        While the defendant is on probation or supervised release pursuant to this Judgment:

1)      the defendant shall not commit another Federal, state or local crime;
2)      the defendant shall not leave the judicial district without the permission of the court or
        probation officer;
3)      the defendant shall report to the probation officer as directed by the court or the probation
        officer and shall submit a truthful and complete written report within the first five days of
        each month;
4)      the defendant shall answer truthfully all inquiries by the probation officer and follow the
        instructions of the probation officer;
5)      the defendant shall support his or her dependents and meet other family responsibilities
        (including, but not limited to, complying with the terms of any court order or administrative
        process pursuant to the law of a state, the District of Columbia, or any other possession or
        territory of the United States requiring payments by the defendant for the support and
        maintenance of any child or of a child and the parent with whom the child is living);
6)      the defendant shall work regularly at a lawful occupation unless excused by the probation
        officer for schooling, training, or other acceptable reasons;
7)      the defendant shall notify the probation officer at least ten days prior to any change in
        residence or employment;
8)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
        use, distribute, or administer any narcotic or other controlled substance, or any
        paraphernalia related to such substances, except as prescribed by a physician;
9)      the defendant shall not frequent places where controlled substances are illegally sold, used,
        distributed, or administered or other places as specified by the court;
10)     the defendant shall not associate with any persons engaged in criminal activity, and shall
        not associate with any person convicted of a felony unless granted permission to do so by
        the probation officer;
11)     the defendant shall permit a probation officer to visit the defendant at any time at home or
        elsewhere and shall permit confiscation of any contraband observed in plain view by the
        probation officer;
12)     the defendant shall notify the probation officer within seventy-two hours of being arrested
        or questioned by a law enforcement officer;
13)     the defendant shall not enter into any agreement to act as an informer or a special agent
        of a law enforcement agency without the permission of the court;
14)     as directed by the probation officer, the defendant shall notify third parties of the risks that
        may be occasioned by the defendant's criminal record or personal history or characteristics,
        and shall permit the probation officer to make such notifications and to confirm the
        defendant's compliance with such notification requirements;
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                               CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                          Total Fine                Total Restitution

         $100.00 (paid)




                                                    FINE

        No fine imposed.

                                              RESTITUTION

        No restitution was ordered.




CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
